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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

AIR CANADA AND AEROPLAN INC.,
Plaintiffs,

C.A. No. 23-1177-GBW

Vv,

LOCALHOST LLC,

Defendant.

STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME
WHEREAS, Plaintiffs Air Canada and Aeroplan Inc. (“Plaintiffs”) and Defendant

Localhost LLC (“Defendant”) have conferred and agreed to an extension of time for certain
deadlines set forth in the Scheduling Order to facilitate the completion of fact and expert
discovery;

WHEREAS, the proposed extensions do not impact the pretrial conference or trial date
in this case; and

WHEREAS, pursuant to Local Rule 16.4, the counsel for the parties have sent a copy
of this stipulation to their clients;

IT IS HEREBY STIPULATED AND AGREED by the parties, subject to the approval

of the Court, that the following deadlines shall be extended as follows:

Event 2 ae Current Deadline |. Proposed Deadline
Fact discovery cut off March 7, 2025 July 3, 2025
Disclosure of expert testimony under May 16, 2025 August 22, 2025
Federal Rule of Civil Procedure
26(a)(2) for the party who has the initial
burden of proof on the subject matter.

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Supplemental disclosure to contradict or | June 27, 2025 September 19, 2025
rebut evidence on the matter identified

by another party.

Reply expert reports from the party with | July 25, 2025 October 10, 2025
the initial burden of proof.

Expert discovery cut off. August 29, 2025 October 30, 2025
Deadline to file case-dispositive October 3, 2025 November 21, 2025

motions, including an opening brief and
affidavits accompanying each such

motion.
Pretrial conference April 7, 2026 at 3:00 No change
p.m.
4 Day Jury Trial April 13, 2026 at 9:30 No change
a.m.
Dated: May 2, 2025
McCARTER & ENGLISH, LLP GELLERT SEITZ BUSENKELL &
BROWN, LLC
/s/ Alexandra M. Joyce /s/ Charles J. Brown, II
Daniel M. Silver (#4758) Charles J. Brown, III (#3368)
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dsilver@mccarter.com Counsel for Defendant
ajoyce@mccarter.com

Counsel for Plaintiffs

hy {Nv

IT IS HEREBY ORDERED this (0 day of : , 2025.
(ery m,

“United States District Judge

